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                 Exhibit 3
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                     UNITED STATES DISTRICT COURT
                     NORTHERN DISTRICT OF FLORIDA
                         TALLAHASSEE DIVISION

WILLIAM A. LINK, et al.
     Plaintiffs,
                                              Case No. 4:21-cv-00271-MW-MAF
      v.
RICHARD CORCORAN, et al.,
     Defendants.


      DECLARATION OF DR. ROBIN GOODMAN IN SUPPORT OF
       PLAINTIFFS’ EMERGENCY MOTION FOR TEMPORARY
       RESTRAINING ORDER OR IN THE ALTERNATIVE FOR
                   PRELIMINARY INJUNCTION

      I, Robin Goodman, pursuant to 28 U.S.C. § 1746, hereby declare as follows:

      1.     I am over the age of 18. I am fully competent to make this declaration.

The following statements are based on my personal knowledge.

      2.     I am an English professor at Florida State University (“FSU”), where I

have worked since 2001. I am a dues-paying member of the United Faculty of

Florida (“UFF”) and presently serve as a Senator of FSU’s local chapter of UFF, as

well as a member of the union’s bargaining team. I previously served as director of

the English Department’s literature program at FSU, including from 2011 to 2014

and again from 2016 to 2018. I have published or edited 11 books, in addition to

numerous published academic articles.
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      3.     My scholarship and teaching at FSU focus on postcolonial literature

and theory, feminism, and critical and cultural theory. These subjects and the classes

I teach often touch on sensitive and controversial topics. For example, in 2016 I

taught a course entitled “Third World Cinema,” which required my students to watch

and discuss films based in or portraying the developing world. These films often

concerned sensitive or controversial issues, including the use of terrorism and

guerilla warfare. In one class I showed my students “Paradise Now,” a Golden

Globe-winning film presenting a fictionalized portrayal of two Palestinian men as

they prepare for a suicide attack in Israel. In another, students watched and discussed

“The Battle of Algiers,” a film depicting clashes between Algerian rebels and French

paratroopers during the Algerian war.

      4.     From time to time, students have commented on what they may

perceive to be my political views, as well as the views expressed by my teaching and

scholarship. They have most often done so in end-of-semester reviews, which

allowed both me and my institution to consider those comments in their appropriate

context, including the specific class that the student was commenting on, and the

specific views or statements to which they referred. To be clear: I have never and

would never consider a student’s political views—or how they might diverge from

my own—in grading or in any of my assessment or interactions with the student. In

addition, I, like many professors, often give voice to many different divergent


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viewpoints—a suggestion of a viewpoint in my classroom is not always an

endorsement, and in teaching controversial material, it is impossible to avoid

statements that at least some among the student body may find controversial.

      5.     In my experience, context for these types of comments are absolutely

critical: without knowing what subject matter or comment gave rise to the

observation or complaint—and without having the benefit of the views of other

students who were in the same classroom, studying the same subjects, and hearing

the same statements—it is impossible to evaluate such observations or the weight

they should be given, in any meaningful way.

      6.     I also research and teach on other controversial subjects. For example,

I am the editor of a book, Understanding Adorno, Understanding Modernism

(Bloomsbury 2020), about Theodor Adorno, a German philosopher and Marxist. I

have also written on contemporary political issues, including in a 2019 article

discussing how popular culture justifies the transfer of wealth and power to a select,

privileged few, including individuals like Ivanka Trump. I believe that HB 233

targets the viewpoints I express in my writing and teaching, the vast majority of

which are views with which Governor DeSantis or other supporters of HB 233 have

explicitly expressed their disagreement. For example, Governor DeSantis and his

supporters frequently assail critical theory, including Critical Race Theory, and so-

called “cultural Marxism.”


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      7.     I recently learned that the ideological viewpoint survey mandated by

HB 233 could be distributed to students and faculty members at FSU, including me,

as soon as April 4, 2022. The enactment of HB 233 has made me reluctant both to

continue teaching certain courses again in the future and to express certain ideas in

courses I continue to teach, for fear of retaliation as a result of HB 233. Among my

concerns are that those controversial courses could lead one of the few students who

have expressed dissatisfaction with their view of how those courses are taught could

weaponize that dissatisfaction in the survey, which could then lead to cuts to funding

to FSU or its English Department. Moreover, any such concerns voiced in the survey

would necessarily be entirely out of context, meaning that they could be taken to

mean—or used for—virtually any purpose the government desired, without having

to deal with the nuanced context that such controversial courses necessarily raise.

      8.     I understand that the Defendants have not produced a final version of

the survey. I have seen some drafts, and they only exacerbate my concerns. If the

surveys that are to be shortly implemented do in fact include questions along the

lines of those that I have seen in the draft surveys, including vague questions about

expression without any connection to context, I am afraid that it will stifle my

speech, particularly in my classes that involve controversial subject matters, and

make me hesitant to voice any view that could be particularly controversial—or

perhaps even more to the point, refute positions that are factual and empirically


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baseless—out of fear that it may cause a student to complain that they believe that

in their classes there is bias as to the viewpoints expressed.

      9.     I am also concerned that whether I participate in the faculty survey or I

do not, the result will be injury to my speech and associational rights. If I choose not

to participate, then I have not contributed to the “data” pool that the government has

made clear it intends to use to make retaliatory decisions, including about funding.

But if I feel compelled to respond to try to protect my institution, it appears that the

survey is likely to ask that I disclose and register my own sincerely-held political

views, which are contrary to those held by Governor DeSantis and supporters of HB

233. I am concerned that responding to the survey honestly in this way will result in

adverse consequences for FSU, including loss of funding and the inability to teach

and discuss certain subjects and viewpoints that are not favored by supporters of HB

233. I am also deeply troubled by the proposed questions that effectively ask faculty

to “report” on each other and staff—again, without any meaningful context

whatsoever—on their perceptions about their viewpoints.

      10.    It also appears that the faculty survey is likely to ask that I disclose

sensitive personal information, including my political affiliation, my religious

beliefs, and my sexual orientation. I find this personally invasive and do not believe

that these issues are my employer’s business. This seems to me like the first step




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towards the government publicly identifying faculty members by their political

beliefs, religion, and sexual orientation.

      11.    Finally, I am also confused about how the survey provisions work in

conjunction with other provisions of HB 233, or the other messages that the Florida

legislature is clearly sending about what is, and what isn’t, considered acceptable

speech in the classroom. For example, a separate provision of HB 233 requires me

not to shield my students from speech that makes them uncomfortable. Yet the draft

survey I have seen appears to seek to measure and have students report on situations

in which my own speech or other speech at the school may make them

uncomfortable. At the same time, the Legislature has taken aim at teaching anything

that it deems to be “critical race theory,” it would seem, on the grounds that it makes

some students uncomfortable. Even if I were able to predict how students might

respond subjectively to any particular speech act, it would seem that I risk breaking

a law whichever way I turn. This only further discourages me teaching or discussing

certain subject matter with students.

      12.    I have read the Amended Complaint for Declaratory and Injunctive

Relief (ECF No. 35) and hereby verify that, with the exception of the allegations

therein that are unique to other Plaintiffs (id. ¶¶ 21-29, 34-38), the allegations of fact

contained therein are true and correct to the best of my knowledge.




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      Pursuant to the provisions of 28 U.S.C. § 1746, I declare under penalty of

perjury that the foregoing is true and correct.

       Executed this 26th day of March, 2022, in Tallahassee, Florida.



                    ___________________________________

                    Dr. Robin Goodman




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